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                  EXHIBIT A
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                                                                                  2022-CC00473

                   IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                STATE OF MISSOURI

KELLEN JACQUIN,                                        )
                                                       )
KRISTEN SPARKS,                                        )
                                                       )
and                                                    )
                                                       )
GREGORY WATERS, on behalf of themselves                )
and all others similarly situated,                     )
                                                       )
               Plaintiffs,                             )       Cause No.
                                                       )
vs.                                                    )       Division:
                                                       )
NESTLE PURINA PETCARE COMPANY,                         )
Serve: Registered Agent                                )       JURY TRIAL DEMANDED
       CT COPORATION SYSTEM                            )
       120 South Central Avenue                        )
       Clayton, MO 63105                               )
                                                       )
               Defendant.                              )

                         CLASS ACTION PETITION FOR DAMAGES

       COME NOW Plaintiffs Kellen Jacquin, Kristen Sparks, and Gregory Waters, (hereinafter

referred to as “Plaintiffs”), on behalf of themselves and all others similarly situated in the State

of Missouri, through their attorneys, and bring this action against Defendant Nestle Purina

PetCare Company (hereinafter referred to as “Defendant” or “Purina”); and, upon information

and belief, except as to the allegations that pertain to themselves, which are based upon personal

knowledge, allege as follows:

                                  NATURE OF THE ACTION

       1.      Plaintiffs bring this action on their own behalf and as representatives of a class of

persons consisting of all Missouri citizens who purchased Purina Products for personal, family,

or household purposes.
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        2.     Defendant develops, manufacturers, markets, distributes, and sells a variety of

personal, family, or household products, including:

    •   Purina Alpo Prime Classics;

    •   Purina Beneful Healthy Weight;

    •   Purina Beneful Originals Adult Dry Dog Food;

    •   Purina Beyond Natural Simply 9;

    •   Purina Beyond Simply 9 White Meat Chicken and Whole Barley Recipe Dog Food Dry;

    •   Purina Cat Chow Complete;

    •   Purina Dog Chow Complete;

    •   Purina Dog Chow Natural plus vitamins;

    •   Purina One, Purposeful Nutrition;

    •   Purina One, Purposeful Nutrition Classic Beef Recipe;

    •   Purina One, Purposeful Nutrition Ocean Whitefish Recipe;

    •   Purina One, Smartblend True Instinct;

    •   Purina Pro Plan Adult Shredded Blend Chicken & Rice Formula Dog Food;

    •   Friskies Indoor Delights Cat Food Dry

(hereinafter the “Purina Products” or the “Products”).1

        3.     Plaintiffs bring this action individually and as class representatives to recover

damages for violations of the Missouri Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010

et seq., for economic relief against Purina, which tested, marketed, distributed, promoted, and

sold the Purina Products.



1Plaintiffs reserve the right to amend this Petition to include any additional pet food items sold
by Purina that contain glyphosate and are within the scope of this Petition.

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        4.      Purina markets the Products as safe and without risk to animals. Purina makes

numerous claims about the quality and safety of its Products and their ingredients.

        5.      Consumers expect products that are marketed as safe and without risk to animals

to be safe to use.

        6.      Although the Purina Products were marketed, advertised, and sold as safe and

without risk to animals, the Products contain glyphosate, a known carcinogen in animals, and do

in fact carry significant health risks, as detailed further herein.

        7.      Glyphosate is a potent biocide and endocrine disruptor with detrimental health

effects that are still becoming known, including being a carcinogen and causing liver damage in

animals.

        8.      Purina misrepresented, and/or concealed, suppressed, or omitted material facts in

connection with the sale, distribution, and/or advertisement of the Purina Products. Therefore,

Plaintiffs, on behalf of themselves and the putative class, seek a refund for monies paid as a

result of their purchases of the Purina Products.

                                              PARTIES

        9.      At all relevant times, Plaintiff Kellen Jacquin was and is a citizen of the State of

Missouri. During the Class Period, Plaintiff Jacquin has purchased Purina Products for personal,

family, or household use. Plaintiff Jacquin’s purchases include, without limitation Purina One,

Purina One, Smartblend True Instinct. Accordingly, Plaintiff Jacquin has been injured as a result

of Defendant’s unlawful conduct alleged herein.

        10.     At all relevant times, Plaintiff Kristen Sparks was and is a citizen of the State of

Missouri. During the Class period, Plaintiff Sparks has purchased Purina Products for personal,

family, or household use. Plaintiff Sparks’ purchases include, without limitation Purina Beneful



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Originals Adult Dry Dog Food. Accordingly, Plaintiff Sparks has been injured as a result of

Defendant’s unlawful conduct alleged herein.

       11.     At all relevant times, Plaintiff Gregory Waters was and is a citizen of the State of

Missouri. During the Class Period, Plaintiff Waters has purchased Purina Products for personal,

family, or household use. Plaintiff Water’s purchases include, without limitation Purina Beneful

Healthy Weight. Accordingly, Plaintiff Waters has been injured as a result of Defendant’s

unlawful conduct alleged herein.

       12.     Defendant Purina manufactures, distributes, markets, and sells pet foods. It is a

Missouri corporation in good standing in the State of Missouri, with its principal place of

business and corporate headquarters located at 1 Checkerboard Square, St. Louis, Missouri

63164. Defendant conducts business, including advertising and selling Purina Products,

throughout Missouri, including the City of St. Louis County, Missouri. Purina is a citizen of the

State of Missouri. Purina has sold dog food since 1957. It has spent millions of dollars

promoting trust and confidence among consumers in its pet food products. It holds itself out to

the public as a manufacturer of safe, nutritious, and high-quality pet food.

                                 JURISDICTION AND VENUE

       13.     This Court has personal jurisdiction over this matter pursuant to Mo. Rev. Stat. §§

478.070 and 506.500 because Purina is registered to conduct business in Missouri, has its

principal place of business and headquarters in Missouri at 1 Checkerboard Square, St. Louis,

Missouri, is present, has transacted and conducted, and continues to transact and conduct

substantial business in Missouri, has a registered agent in Missouri, consistently and purposefully

avails itself of the privileges of conducting business in Missouri and in this judicial district, and

can fairly be regarded as at home in Missouri. Furthermore, Purina committed a tortious act



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within this state by marketing, distributing, promoting, and selling the Products in Missouri in a

manner which violates the Missouri Merchandising Practices Act, Mo. Rev. Stat. §§ 407.010 et

seq., as detailed further herein.

        14.     This Court has personal jurisdiction over Purina because certain of the acts and/or

omissions which are the subject of this litigation occurred in the City of St. Louis, Missouri, and

Defendant regularly conducts business in the City of St. Louis, Missouri.

        15.     As a result of the marketing, distribution, sale, and delivery of the Products,

which would be sold to Plaintiffs in the State of Missouri, Defendant, directly and through its

subsidiaries, affiliates, or agents, obtained the benefits of the laws of the State of Missouri.

        16.     Neither Plaintiffs nor any member of Plaintiffs’ Class assert any federal question.

Plaintiffs assert only violations of the Missouri Merchandising Practices Act. Plaintiffs

specifically deny any intent to state a cause of action arising under the laws of the United States

of America, including any claim for injunctive relief available under federal law.

        17.     Venue is proper in this Court pursuant to Mo. Rev. Stat. §§ 508.010.4 and

407.025.

                                    FACTUAL ALLEGATIONS

                       Defendant’s False and Misleading Representations

        18.     Despite the growing body of evidence that glyphosate is carcinogenic and poses

health risks to animals, including the International Agency for Research on Cancer’s (“IARC”)

classification of glyphosate as a class 2A probable carcinogen as discussed below, Purina has

continued to misrepresent that its Products are safe and without risk to animals throughout the

Class Period.




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        19.       Defendant’s marketing materials are replete with statements regarding the safety

of the Products, statements that the Products are safe, and the labels of all of the Products state

the products are safe.

        20.       Defendant claims that the quality and safety of its products are its top priority and

cultivates the Purina image of a safe brand through its statements. Purina’s website contains the

following statement: “[T]he quality and safety of our products are our top priority.”

        21.       Purina’s website contains numerous additional statements regarding the safety

and quality of its ingredients:

              •   Purina’s ingredients are “Responsibly Sourced” which means the company “can

                  select high quality cat and dog food ingredients for your pet.”

              •   “Quality ingredients that start at the source…That’s why we trace every single

                  ingredient that passes through our doors back to our trusted sources. Our experts

                  monitor every detail of our ingredients and their origins – from weather

                  patterns to air quality to livestock management practices.”

              •   “We know exactly what goes into every batch, who made it, when it was made

                  and where it’s going.”

              •   “All of our U.S. facilities have on-site assurance laboratories and staff to help us

                  monitor the safety and nutrition value of your dog’s food.”

        22.       Purina’s website goes on to describe how its Quality Assurance and Safety Team

assures that its pet food is safe:

              •   “When ingredients arrive at one of our 20 U.S. facilities, they are inspected by our

                  Quality Assurance Staff. Every ingredient is inspected for quality before it goes

                  into your pet’s food.”


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             •   “After our food passes thousands of quality & safety checks, it’s ready for your

                 pet’s bowl.”

             •   “Before working with a supplier, our technical team conducts rigorous sampling

                 to ensure the ingredient meets our standards.”

             •   “We inspect each ingredient as it arrives at our facilities for quality and safety.

                 Our quality assurance team performs multiple checks throughout the

                 manufacturing process and our factory employees have the power to reject any

                 ingredients that don’t meet our high standards.”

       23.       Purina’s website also describes the stringent criteria that a Purina supplier must

adhere to in order to provide ingredients for its products. In order to become a Purina supplier,

the supplier is subject to a 6 to 12-month assessment. During this process, Purina takes, among

other things, the following steps:

                 a. “Identify suppliers to source Purina’s quality ingredients.”

                 b. “Study the integrity of ingredients through regulatory, food safety and

                    toxicology reviews.”

                 c. “Test ingredients prior to approval through Nestle Purina Analytical Labs.”

       24.       Despite Purina’s extensive knowledge of its suppliers, supplies and supply chain,

it does not disclose that the Products are contaminated with glyphosate.

       25.       Despite Purina’s extensive efforts to study the integrity of its products’

ingredients and conduct toxicology reviews of the ingredients, Purina does not disclose that the

Products contain glyphosate and still claims that its Products are safe and not harmful to animals.




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         26.    Purina’s website makes no mention that a known carcinogen is used in its pet

food ingredients and remains at measurable levels in food consumed by Purina’s consumers’

pets.

         27.    The labeling for the Products misrepresents that the Products and their ingredients

are “safe.” Purina makes this claim on the packaging of all the Products.




         28.    The labeling for the Products claims that they are “safe,” and without risk to

animals. However, each of these representations is false. Consumers understand the term “safe”

to mean that the Products will not cause harm, or contain any ingredients that can cause harm to

their pets. The Merriam-Webster Dictionary defines “safe” as “free from harm or risk.”2 Under

this definition, and the expectation of reasonable consumers, the Products and their ingredients

cannot be considered safe because they contain glyphosate which is unsafe and harmful.



2   https://www.merriam-webster.com/dictionary/safe

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       29.     Defendant consistently and systematically marketed, advertised and labeled the

Products as “safe” and without risk to animals throughout the Class Period.

               Purina’s Products Contain an Alarming Amount of Glyphosate

       30.     Defendant’s representations that the Products are safe and without risk to animals

are false, misleading, and deceptive because the Purina Products contain an alarming amount of

glyphosate. Numerous studies have confirmed the presence of glyphosate in the Purina Products

at levels that cause serious disease in animals.

       31.     In September 2015, just four (4) months after the IARC concluded that glyphosate

causes cancer in animals (see ¶¶ 66-67, infra), a study found alarming amounts of glyphosate in

the Purina Products.3 For example:

               •    Purina Beneful Originals Adult Dry Dog Food had a glyphosate level of
                    293.03 ppb.4

               •    Purina Dog Chow Complete had a glyphosate level of 212 ppb.5

               •    Purina Pro Plan Adult Shredded Blend Chicken & Rice Formula Dog Food
                    had a glyphosate level of 212 ppb.6

       32.     The 2015 study also found significant levels of glyphosate in numerous other

Purina Products.7

       33.     Another study conducted in 2018 found that additional Purina Products contained

substantial levels of glyphosate.8 The glyphosate concentrations in the Purina Products were

higher than those reported for average human diets, resulting in exposure to between 7.3% and


3 Samsel, A. & Seneff, S. (2015) Glyphosate, Pathways to Modern Disease IV. JBPC Vol 15,
121-159.
4 Id.
5 Id.
6 Id.
7 Id.
8 J. Zhao et al. / Detection of glyphosate residues in companion animal feeds, Environmental

Pollution 243 (2018) 113-118.

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25% of the allowable intake for humans in the United States.9 Moreover, the tendency of

animals to eat more as a percent of their body weight than humans do, combined with higher

glyphosate levels in their food, suggests that their exposure may be 2.7-28 times higher on a

body weight basis depending on the product consumed.10

        34.    Purina was asked by a consumer to comment on the 2018 study that found

Monsanto’s top weed killer in its pet food products. Purina’s response was that “Purina pet food

is safe and does not contain harmful levels of glyphosate.”11

        35.    The pet food industry adds NaNO2 (sodium nitrite) to some pet foods as a

preservative. This is very common and in the presence of glyphosate is deadly. Glyphosate

reacts continuously over time with NO2 and produces N-Nitrosoglyphosate which is a nasty

carcinogen along with phosphonic acids AMPA and MAMPA.

        36.    No product marketed and labeled as “safe” and without risk to animals should

contain glyphosate. Contrary to representations made by Purina, Tests conducted by

independent laboratories have revealed that the Purina Products contain glyphosate levels that

are significantly higher than the 0.1 parts per billion (“ppb”) level of glyphosate that causes

serious disease in animals.12 See ¶ 62, infra.


                               Product                                Glyphosate Levels (ppb)

     Purina Alpo Prime Classics                                                  295.00
     Purina Beneful Healthy Weight                                              2140.00
     Purina Beneful Originals Adult Dry Dog Food                                 293.03

9 Id.
10 Id.
11 https://twitter.com/Purina/status/1055827901000617984
12 Research links 0.1 ppb of glyphosate to non-alcoholic liver disease. Mesnage, R. et al.,

“Multiomics reveal non-alcoholic fatty liver disease in rats following chronic exposure to ultra-
low dose of Roundup herbicide,” SCIENTIFIC REPORTS 7:39328, published January 9, 2017,
available at https://www.nature.com/articles/srep39328.pdf.

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     Purina Beyond Natural Simply 9                                              93.50
     Purina Beyond Simply 9 White Meat Chicken and Whole                          47
     Barley Recipe Dog Food Dry
     Purina Cat Chow Complete Dry                                                  102
     Purina Dog Chow Complete Dry                                                212.00
     Purina Dog Chow Natural plus vitamins                                        92.78
     Purina One, Purposeful Nutrition                                            261.00
     Purina One, Purposeful Nutrition Classic Beef Recipe                        178.00
     Purina One, Purposeful Nutrition Ocean Whitefish Recipe                     195.00
     Purina One, Smartblend True Instinct                                       1540.00
     Purina Pro Plan Adult Shredded Blend Chicken & Rice                         203.88
     Formula Dog Food
     Friskies Indoor Delights Cat Food Dry                                       79.00


          37.   Purina claims that it only uses suppliers that provide safe, quality ingredients as

set forth above.

          38.   Given the presence of glyphosate in the Purina Products, Defendant’s

representations that its Products are safe and without risk to animals are false and misleading.

          39.   Purina’s Products thus are not “safe,” and labeling or advertising the Products as

such is misleading and deceptive.

          40.   No serious contention can be made that Products containing glyphosate are

“safe.”

                     Glyphosate Poses Risks to Human and Animal Health

          41.   Glyphosate was invented by the agrochemical and agricultural biotechnology

corporation Monsanto, which began marketing the herbicide in 1974 under the trade name

Roundup.13




13See Shannon Van Hoesen, Study: Monsanto’s Glyphosate Most Heavily Used Weed-Killer in
History, Environmental Working Group (Feb. 2, 2016), https://www.ewg.org/release/study-
monsanto-s-glyphosate-most-heavily-used-weed-killer-history.

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       42.      Glyphosate inhibits the enzyme 5-enolpyruvylshikimate-3-phosphate synthase,

which processes amino acids. Sprayed as a liquid, glyphosate is absorbed by plants through their

leaves, stems, and roots.

       43.      By the late 1990s, use of Roundup had surged as a result of Monsanto’s strategy

of genetically engineering seeds to grow food crops that could tolerate high doses of the biocide.

Monsanto’s marketing strategy promised farmers that the introduction of these genetically

engineered seeds would enable farmers to more easily control weeds on their crops.14

       44.      In 2007, glyphosate was the most-used herbicide in the United States agricultural

sector, with 180 to 185 million pounds applied that year, and the second most-used in the home-

and-garden market, where users applied 5 to 8 million pounds.

       45.      For several decades, Purina has been presented with mounting, consistent

evidence that glyphosate poses significant risks to human and animal health, and, is

carcinogenic.

       46.      As early as 1985, a U.S. Environmental Protection Agency (“EPA”) study

concluded that glyphosate was oncogenic, meaning it causes the development of tumors.15

       47.      Glyphosate appears to be absorbed by humans, as glyphosate has been detected in

the blood and urine of agricultural workers as well as non-farm workers.16

       48.      Numerous studies and scientific research have confirmed that glyphosate poses

severe and significant risks, as furthered detailed below.


14 See id.
15 EPA Consensus Review of Glyphosate, available at
https://www3.epa.gov/pesticides/chem_search/cleared_reviews/csr_PC-103601_4-Mar-
85_171.pdf.
16 P.J. Mills, et al., Excretion of the Herbicide Glyphosate in Older Adults Between 1993 and

2016, 318 JAMA No. 16 at 1610-11 (October 24/31, 2017); B.D. Curwin, et al., Urinary
pesticide concentrations among children, mothers and fathers living in farm and non-farm
households in Iowa, ANNALS OF OCCUPATIONAL HYGIENE 51, 53–65 (2007).

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                                   Glyphosate Is a Carcinogen

       49.      Multiple studies from the late 1990s and early 2000s provided strong evidence

that glyphosate posed increased risk of developing cancer in humans and animals. Specifically,

these studies show elevated risk of all non-Hodgkin’s lymphoma cancers (“NHL”) with

glyphosate exposure, including a heightened risk of small lymphocytic lymphoma, follicular

lymphoma, diffuse large B-cell lymphoma, and other subtypes.17

       50.      These studies have also indicated that lymphomas caused by glyphosate can have

long “latent” periods, meaning the disease is often present for months or years before it is

discovered and diagnosed, and may have no symptoms at diagnosis but can progress over a

number of years.

                                     Glyphosate is Genotoxic

       51.      Toxicologists have studied glyphosate alone, additives alone, and formulations. In

2009, for example, scientists published a study examining the effects of glyphosate on human

umbilical, embryonic, and placental cells. The study used low levels of glyphosate. The study

concluded that ingredients like the surfactant POEA, in tandem with glyphosate, can change

human cell permeability and amplify the toxicity of glyphosate alone. (“Glyphosate formulations

induce apoptosis and necrosis in human umbilical, embryonic, and placental cells”).18

       52.      This study and others have concluded that in addition to increased cancer risk,

glyphosate likely poses a significant risk of cell-cycle dysfunction and DNA damage, known as

genotoxicity.




17 Numerous studies are compiled in the cumulative review by IARC and discussed in
Paragraphs 66, 67, infra.
18 C. Gasnier, et al.. Glyphosate-based herbicides are toxic and endocrine disruptors in human

cell lines, 262 TOXICOLOGY, 184-191 (2009).

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                          Glyphosate Causes Endocrine System Disruption

       53.     Glyphosate is also an endocrine disrupting chemical (EDC). EDCs can block the

binding of hormone to receptor and prevent activation of genes. They can also bind in place of

hormones19 and mimic their effects. EDCs exert their effects at very low doses, and with

exposure over long periods of time can lead to severe health problems, including cancer, birth

defects, and other reproductive and developmental problems.

       54.     For example, a 2007 study showed that glyphosate herbicide altered hormone

levels in female catfish and decreased egg viability, concluding that the herbicide was harmful to

catfish reproduction.20

       55.     Another earlier study found that Roundup and glyphosate disrupted production of

the steroid hormone progesterone in mouse cells.21

       56.     A study published in 2010 reported that glyphosate herbicide was a potent EDC in

rats and caused disturbances in reproductive development after exposure during puberty.22

       57.     An in vitro experiment on human cells revealed that glyphosate herbicides

prevented the action of androgens, masculinizing hormones, at levels up to 800 times lower than

the levels of glyphosate residue allowed in some genetically modified crops used for animal feed



19 Glyphosate has been confirmed through multiple research studies to disrupt the sex hormones
balance by mimicking estrogen when administered in very low doses. See S. Thongprakaisang,
et al., Glyphosate induces human breast cancer cells growth via estrogen receptors, 59 FOOD
AND CHEMICAL TOXICOLOGY, 129-136 (2013).
20 A.B. Soso, et al., Chronic exposure to sub-lethal concentration of a glyphosate-based herbicide

alters hormone profiles and affects reproduction of female Jundiá (Rhamdia quelen), 23 ENVTL.
TOXICOLOGY AND PHARMACOLOGY, Issue 3, 308-313 (2007).
21 L.P. Walsh, et al., Roundup inhibits steroidogenesis by disrupting steroidogenic acute

regulatory (StAR) protein expression, 108 ENVTL. HEALTH PERSPECTIVES, Issue 8, 769-
776.
22 R.M. Romano, et al., Prepubertal exposure to commercial formulation of the herbicide

Glyphosate alters testosterone levels and testicular morphology, 84 ARCHIVES OF
TOXICOLOGY, 309-317 (2010).

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in the U.S. The same study found that the herbicides disrupted the action and formation of

estrogens, the feminizing hormones.23

       58.     A study of Roundup administered to rats in drinking water at half the level

permitted in drinking water in the EU and 14,000 times lower than that permitted in drinking

water in the U.S. resulted in severe organ damage and a trend of increased incidence of

mammary tumors in female animals over a 2-year period of exposure.24

       59.     This impact on the endocrine system is dose dependent. Production of hormones

is also inhibited by glyphosate.

                   Glyphosate Causes Non-Alcoholic Liver Disease in Animals

       60.     Studies examining low doses of glyphosate-based biocides at levels that are

generally considered “safe” for humans show that these compounds can nevertheless cause liver

and kidney damage in animals.25




23 Note 6, supra.
24 G. Séralini, et al., Republished study: long-term toxicity of a Roundup herbicide and a
Roundup-tolerant genetically modified maize, ENVTL. SCIS. EUROPE 26 (June 24, 2014).
25 Myers, J., et al., “Concerns over use of glyphosate-based herbicides and risks associated with

exposures: a consensus statement,” Environ. Health 2016 15:9, available at
https://ehjournal.biomedcentral.com/articles/10.1186/s12940-016-0117-0; see also Seralini,
G.E., et al, “Republished study: long-term toxicity of a Roundup herbicide and a Roundup-
tolerant genetically modified maize,” Environ. Sci. Europe 2014;26:14, available at
https://enveurope.springeropen.com/articles/10.1186/s12302-014-0014-5; Benedetti, A.L., “The
effects of sub-chronic exposure of Wistar rats to the herbicide Glyphosate-Biocarb, Toxicol. Lett.
2004;153(2):227–232, available at https://www.ncbi.nlm.nih.gov/pubmed/15451553; Larsen, K.,
et al., “Effects of Sublethal Exposure to a Glyphosate-Based Herbicide Formulation on
Metabolic Activities of Different Xenobiotic-Metabolizing Enzymes in Rats,” Int. J. Toxicol.
2014, available at https://www.ncbi.nlm.nih.gov/pubmed/24985121; Mesnage R., et al.,
“Transcriptome profile analysis reflects rat liver and kidney damage following chronic ultra-low
dose Roundup exposure,” Environ. Health 2015;14:70, available at
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4549093/.

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       61.     Ultra-low doses of glyphosate formulations fed to rats is linked to an increased

likelihood of developing non-alcoholic fatty liver disease (NAFLD).26 The dose of glyphosate

from the Roundup administered to the rats was thousands of times below what is permitted by

regulators worldwide.27 Thus, there is a causative link between an environmentally relevant

level of glyphosate consumption over the long-term and a serious liver disease in animals.

       62.     Research links 0.1 parts per billion (“ppb”) of glyphosate to non-alcoholic liver

disease.28 The disease begins with the accumulation of fat within the cells of the liver, but can

progress to inflammation, the development of scar tissue, and in some cases death from liver

failure or cancer. 29 Any type of damage to the liver is likely to impact an animal’s health. 30

       63.     One of the authors of the 2017 study, Michael Antoniou, stressed the “worrying”

finding about glyphosate at residual levels like that in the Purina Products: “The findings of our

study are very worrying as they demonstrate for the first time a causative link between an

environmentally relevant level of Roundup consumption over the long-term and a serious disease

. . . . Our results also suggest that regulators should reconsider the safety evaluation of

glyphosate-based herbicides.31




26 Mesnage, R. et al., “Multiomics reveal non-alcoholic fatty liver disease in rats following
chronic exposure to ultra-low dose of Roundup herbicide,” SCIENTIFIC REPORTS 7:39328,
published January 9, 2017, available at https://www.nature.com/articles/srep39328.pdf.
27 Id.
28 Id.
29 https://www.westonaprice.org/health-topics/nonalcoholic-fatty-liver-disease/
30 Id.
31 Sean Poulter, Britain’s most used pesticide is linked to a serious liver disease which can be

fatal, shocking new study claims, Daily Mail (Jan. 9, 2017),
https://www.dailymail.co.uk/health/article-4102990/Britain-s-used-pesticide-linked-deadly-liver-
disease-shocking-new-study-claims.html

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                                         Scientific Consensus

         64.     Literature reviews analyzing the entire body of studies undertaken on the effects

of glyphosate show a statistically significant increase in the risk of developing cancer and other

diseases as a result of exposure to glyphosate.

         65.     The studies have been peer-reviewed, and they are and were available and

or/known to Purina.

         66.     A critical inflection point in public and scientific understanding of the risks posed

by glyphosate came in 2015, when the International Agency for Research on Cancer (“IARC”)

undertook a systematic review of scientific research gathered to date. The IARC is an

intergovernmental cancer agency tasked by the World Health Organization of the United Nations

with conducting and coordinating research into the causes of cancer.

         67.     In March 2015, after a cumulative review of available studies, the IARC reached

the conclusion that glyphosate is a Class 2A “probable carcinogen” as demonstrated by the

mechanistic evidence of carcinogenicity in humans and sufficient evidence of carcinogenicity in

animals.32

         68.     The IARC found “sufficient evidence in experimental animals” that glyphosate is

a carcinogen.33 The IARC’s conclusion followed review of epidemiologic studies and results

from the EPA regarding the risks and effects of glyphosate. The 2A designation suggests strong

evidence of probable causality.

         69.     Foreign governments have also concluded that glyphosate is unsafe. In

November 2015, the European Food Safety Agency published conclusions suggesting that the




32   Available at https://monographs.iarc.fr/wp-content/uploads/2018/06/mono112-10.pdf.
33   Id.

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combined use of glyphosate with other chemicals posed greater potential health risks than when

glyphosate is used alone.

       70.      In light of those conclusions, in April 2016, following a review of products

containing glyphosate and tallowamine, a substance that enhances the activity of glyphosate,

France’s health and safety agency announced its intention to ban weed-killers that combine the

two chemicals.34

       71.      Recently, France banned thirty-six (36) glyphosate-based products over health

concerns.35

              Purina Has Been Aware of the Presence of Glyphosate in its Products

       72.      Purina knew, or should have known, that the Products contain harmful levels of

glyphosate and were not safe.

       73.      Purina holds itself out to the public as a trusted expert in the production of “safe”

and quality pet food that is not harmful to animals.

       74.      Purina has extensive knowledge of its entire supply chain.

       75.      According to its website, Purina studies the integrity, quality, and safety of its

ingredients and conducts toxicology reviews of its products in order to ensure their safety and

quality. Purina has a “Quality Assurance and Safety Team” that assures that its pet food is safe.

       76.      Purina’s website states that its experts “monitor every detail” of its “ingredients

and their origins.”




34 See “France to Ban Some Glyphosate Weedkillers Amid Health Concerns,” Reuters, Apr. 8,
2016, available at https://www.reuters.com/article/us-france-glyphosate-idUSKCN0X512S.
35 https://www.reuters.com/article/us-france-glyphosate/france-to-ban-dozens-of-glyphosate-

weedkillers-amid-health-risk-debate-idUSKBN1YD1BG

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        77.     Purina’s website makes clear that Purina knows exactly what goes into its

products and “its pet food passes thousands of quality & safety checks” during the manufacturing

process.

        78.     As mentioned above, Purina claims that it undertakes extensive efforts to study

the integrity of its products’ ingredients and conducts toxicology reviews of the ingredients.

        79.     Purina has extensive knowledge of its suppliers and supply chain and thus knows

how the Products are produced, including that glyphosate enters the Products sometime during

the production process.

        80.     The source of the glyphosate in the Products is known to Purina and its suppliers.

        81.     Purina has misrepresented the safety risks of the Products and concealed and

suppressed information about the harmful effects of the glyphosate in the Products.

        82.     Purina’s representations that the Products were safe and without risk to animals

when, in fact, they are not, is a material fact.

        83.     Purina has failed to adequately inform or warn Plaintiffs of the serious and

dangerous risks associated with the use of and exposure to glyphosate and the Products.

        84.     To this day, Purina continues to misrepresent, conceal, and suppress information

about the safety risks posed by the glyphosate in the Products in its advertising and

communications with purchasers.

                                              The Class

        85.     Plaintiffs and the Class purchased the Purina Products, which were falsely

represented as set forth above, primarily for personal, family and/or household purposes and

thereby suffered an ascertainable loss of money or property as a result of Purina’s practices

declared unlawful by Missouri’s Merchandising Practices Act, because the products Plaintiffs



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and the other Class Members purchased were worth less than the product they thought they had

purchased had Purina’s representations been true.

                               CLASS ACTION ALLEGATIONS

       86.     Plaintiffs and Class Members hereby incorporate and re-allege, as though fully set

forth herein, each and every allegation set forth in the preceding paragraphs of this Petition.

       87.     Plaintiffs bring this action under Rule 52.08 of the Missouri Rules of Civil

Procedure and Missouri Revised Statutes §§407.025.2 and 407.025.3, on behalf of themselves

and a class defined as follows:

               All Missouri residents who, within the five years preceding the filing
               of this Petition, purchased the Purina Products for personal, family or
               household use.

       Excluded from the Class:

          i.   Defendant, any entity in which a Defendant has a controlling interest or which has

               a controlling interest in a Defendant, and Defendant’s legal representatives,

               predecessors, successors, assigns, and employees;

         ii.   Counsel and members of the immediate family of counsel for Plaintiff herein; and

        iii.   The judge and staff to whom this case was assigned, and any member of the

               judge’s immediate family; and

         iv.   Individuals claiming they or their pets have suffered a personal injury as a result

               of using the Products.

       88.     Plaintiffs reserve the right to revise this definition of the Class based on facts they

learn during discovery.

       89.     The proposed Class meets all requirements for class certification. The Plaintiffs’

Class satisfies the numerosity standards. Plaintiffs have a good faith belief that there are

thousands of Class Members in the State of Missouri. As a result, joinder of all Class Members

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in a single action is impracticable. Class Members may be informed of the pendency of this

Class Action by published and broadcast notice.

        90.     Plaintiffs’ claims are typical of the other Class Members. Plaintiffs and Class

Members purchased the Purina Products in the State of Missouri in connection with Defendant’s

violations of the Missouri Merchandising Practices Act. Plaintiffs and Class Members have all

sustained damages in that each paid the purchase price for the Products.

        91.     Plaintiffs are adequate representatives of the Class because they are members of

the Class and their interests do not conflict with the interests of the members of the Class they

seek to represent. The interests of Class Members will be fairly and adequately protected by

Plaintiffs and their undersigned counsel, who have extensive experience prosecuting complex

class action litigation.

        92.     Common questions of law and/or fact exist as to all Class Members, which

predominate over any questions affecting solely individual Class Members. The questions of

law and fact common to the Class arising from Purina’s actions include, without limitation, the

following:

                a. Whether, in marketing and selling the Products, Purina misrepresented,

                    concealed and/or suppressed the dangers and risks to the health of animals

                    consuming the Products;

                b. Whether Purina misrepresented in its advertisements, marketing materials,

                    labeling, website statements, and public statements, among other things, the

                    safety the Products;

                c. Whether Purina failed to warn adequately of the risks of adverse effects of the

                    Products;



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            d. Whether Purina knew or should have known of the risks that the use of the

               Products could lead to serious adverse health effects;

            e. Whether Purina adequately tested the Products and their ingredients;

            f. Whether Purina continued to manufacture, market, distribute, and sell the

               Products notwithstanding its knowledge of glyphosate and the Products’

               dangerous nature;

            g. Whether Purina knowingly omitted, suppressed, or concealed material facts

               about the unsafe and defective nature of the Products from government

               regulators and/or the consuming public.

            h. Whether Purina’s affirmative representations and/or failure to disclose that the

               Products contain glyphosate and carry significant health risks constitutes

               deception, fraud, false pretense, false promise, misrepresentation, unfair

               practices and omission, concealment, and suppression of material information

               in connection with the sale or advertisement of merchandise in trade or

               commerce in or from the state of Missouri;

            i. Whether Purina’s conduct violated the Missouri Merchandising Practices Act;

            j. Whether Plaintiffs and the Class Members have sustained monetary loss and

               the proper measure of that loss;

            k. Whether Plaintiffs and Class Members are entitled to an award of

               compensatory damages;

            l. Whether Plaintiffs and Class Members are entitled to an award of punitive

               damages as permitted by the Missouri Merchandising Practices Act; and

            m. Whether injunctive, declaratory, and/or other equitable relief is warranted.



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       93.     These and other questions of law and/or fact are common to the Class and

predominate over any questions affecting only individual members of the Class. The resolution

of common questions in this case will resolve the claims of both Plaintiffs and the Class.

       94.     A class action is superior, with respect to considerations of consistency, economy,

efficiency, fairness and equity, to other available methods for the fair and efficient adjudication

of this controversy. The prosecution of separate actions by individual Class Members would

impose heavy burdens upon the courts and Defendant, and would create a risk of inconsistent or

varying adjudications of the questions of law and/or fact common to the Class. In addition, the

prosecution of separate actions by individual Class Members would establish incompatible

standards of conduct for any party opposing the Class. Also, the prosecution of separate actions

by individual Class Members, if fully adjudicated, as a practical matter, would be dispositive of

the interests of the other Class Members not parties to that particular adjudication and, as such,

would substantially impair or impede upon those Class Members abilities to protect their

interests. A class action, on the other hand, would achieve substantial economies of time, effort

and expense, and would assure uniformity of decision as to persons similarly situated without

sacrificing procedural fairness or bringing about other undesirable results.

       95.     The interest of Class Members in individually controlling the prosecution of

separate actions is theoretical rather than practical. The Class has a high degree of cohesion, and

prosecution of the action through a representative would be unobjectionable. The amounts at

stake for Class Members, while substantial in the aggregate, may not be great enough

individually to enable them to maintain separate suits against Defendant. Plaintiffs do not

anticipate any difficulty in the management of this action as a class action.

       96.     Plaintiffs seek a refund of monies paid for the Purina Products.



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       97.       Plaintiffs specifically exclude from this Class Action any damages, losses, or

other relief of any kind arising from the personal injuries suffered by those Class Members’

animals diagnosed with the various diseases caused by glyphosate. This Class Action seeks only

economic relief requested herein to which Class Members are entitled under the Missouri

Merchandising Practices Act.

       98.       Notice can be provided to Class Members by using techniques and forms of

notice similar to those customarily used in other consumer product-related cases and complex

class actions.

                    ALLEGATIONS RELATED TO PUNITIVE DAMAGES

       99.       Plaintiffs and Class Members hereby incorporate and re-allege, as though fully set

forth herein, each and every allegation set forth in the preceding paragraphs of this Petition.

       100.      Defendant Purina’s unlawful practices including deception, false promises,

misrepresentation, and/or the concealment, suppression, or omission of material facts in

connection with the sale, distribution or advertisement of the Products were outrageous because

of Purina’s evil motive and/or conscious disregard and/or reckless indifference to the rights

and/or safety of Plaintiffs’ animals and Class Members alike.

       101.      As a result of Purina’s conduct alleged herein, the jury should be permitted to

return a verdict of punitive damages under the Petition that will serve to punish Purina and deter

others from like conduct. The Missouri Merchandising Practices Act expressly provides for

punitive damages. See Mo. Rev. Stat. § 407.025.




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                           CLAIM FOR RELIEF
        VIOLATION OF THE MISSOURI MERCHANDISING PRACTICES ACT
                       Mo. Rev. Stat. §§ 407.010, et seq.

       102.    Plaintiffs and Class Members hereby incorporate and re-allege, as though fully set

forth herein, each and every allegation set forth in the preceding paragraphs of this Petition.

       103.    The acts and practices engaged in by Defendant, and described herein, constitute

unlawful, unfair and/or fraudulent business practices in violation of the Missouri Merchandising

Practices Act (“MMPA”), Mo. Rev. Stat. §§ 407.010, et seq.

       104.    Defendant’s actions alleged herein violated, and continue to violate, the MMPA.

       105.    Defendant is a “person” within the meaning of the MMPA, at Missouri Revised

Statutes § 407.010(5).

       106.    The goods purchased from Defendant are “merchandise” within the meaning of

the MMPA, Missouri Revised Statutes § 407.010(4).

       107.    The transactions resulting in purchases of goods from Defendant in Missouri are a

“sale” within the meaning of the MMPA, Missouri Revised Statutes § 407.010(6).

       108.    Defendant engaged in unlawful practices including deception, false promises,

misrepresentation, and/or the concealment, suppression, or omission of material facts in

connection with the sale, distribution or advertisement of the Purina Products in violation of Mo.

Rev. Stat. § 407.020, which states in relevant part as follows:

       407.020. 1. The act, use or employment by any person of any deception, fraud, false
       pretense, false promise, misrepresentation, unfair practice or the concealment,
       suppression, or omission of any material fact in connection with the sale or advertisement
       of any merchandise in trade or commerce ... is declared to be an unlawful practice. ...
       Any act, use or employment declared unlawful by this subsection violates this subsection
       whether committed before, during or after the sale, advertisement or solicitation.

       109.    Plaintiffs and Class Members purchased the Purina Products, products that were

falsely represented as safe and without risk to animals, as stated above, in violation of the


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Missouri Merchandising Practices Act and as a result Plaintiffs suffered economic damages, in

that the product they and other Class Members purchased was worth less than the product they

thought they had purchased had Defendant’s representations been true.

       110.    At all times relevant herein, Plaintiffs were unaware that the Purina Products

contained significant levels of glyphosate.

       111.    At all times relevant herein, Plaintiffs were unaware that the Purina Products had

significant carcinogenic, and otherwise toxic, properties.

       112.    At all times relevant herein, Plaintiffs were unaware that using the Purina

Products to feed their animals created a risk of cancer.

       113.    At all times relevant herein, Plaintiffs were unaware that using the Purina

Products to feed their animals created a significant risk of genotoxicity.

       114.    At all times relevant herein, Plaintiffs were unaware that using the Purina

Products to feed their animals created a risk that endocrine pathways would be disrupted.

       115.    At all times relevant herein, Plaintiffs were unaware that using the Purina

Products to feed their animals created a risk of liver disease and kidney damage.

       116.    Defendant’s marketing materials for the Purina Products do not disclose that the

Products contain glyphosate.

       117.    Defendant’s marketing materials for the Purina Products do not disclose that the

Products have any carcinogenic effects on animals.

       118.    Defendant’s marketing materials for the Purina Products do not disclose that

glyphosate has been found to be a carcinogen in animals by the International Agency for

Research on Cancer.




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       119.    Defendant’s marketing materials for the Purina Products do not disclose that

glyphosate creates a significant risk of genotoxicity in animals.

       120.    Defendant’s marketing materials for the Purina Products do not disclose that

glyphosate is an endocrine disrupting chemical in animals.

       121.    Defendant’s marketing materials for the Purina Products do not disclose that

glyphosate creates a risk of liver disease and kidney damage in animals.

       122.    Defendant’s website does not disclose that the Products contain glyphosate.

       123.    Defendant’s website does not disclose that the Products have any carcinogenic

effects on animals.

       124.    Defendant’s website does not disclose that glyphosate has been found to be a

carcinogen in animals by the International Agency for Research on Cancer.

       125.    Defendant’s website does not do not disclose that glyphosate creates a significant

risk of genotoxicity in animals.

       126.    Defendant’s website does not disclose that glyphosate is an endocrine disrupting

chemical in animals.

       127.    Defendant’s website does not disclose that glyphosate creates a risk of liver

disease and kidney damage in animals.

       128.    Defendant’s labeling for the Purina Products does not disclose that the Products

contain glyphosate.

       129.    Defendant’s labeling for the Purina Products does not disclose that the Products

have any carcinogenic effects on animals.

       130.    Defendant’s labeling for the Purina Products does not disclose that glyphosate has

been found to be a carcinogen in animals by the International Agency for Research on Cancer.



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       131.    Defendant’s labeling for the Purina Products does not disclose that glyphosate

creates a significant risk of genotoxicity in animals.

       132.    Defendant’s labeling for the Purina Products does not disclose that glyphosate is

an endocrine disrupting chemical in animals.

       133.    Defendant’s labeling for the Purina Products do not disclose that glyphosate

creates a risk of liver disease and kidney damage in animals.

       134.    Defendant’s failure to disclose the fact that the Purina Products contain

glyphosate and carry significant health risks to animals, was a violation of the Missouri

Merchandising Practices Act, as further stated herein, and was a material omission.

       135.    Defendant’s failure to disclose the fact that the glyphosate in the Purina Products

has the potential to cause cancer, was a violation of the Missouri Merchandising Practices Act, as

further stated herein, and was a material omission.

       136.    Defendant’s failure to disclose the fact that the glyphosate in the Purina Products

has the potential to cause genotoxicity in animals., was a violation of the Missouri

Merchandising Practices Act, as further stated herein, and was a material omission.

       137.    Defendant’s failure to disclose the fact that the glyphosate in the Purina Products

has the potential to be an endocrine disruptor, was a violation of the Missouri Merchandising

Practices Act, as further stated herein, and was a material omission.

       138.    Defendant’s failure to disclose the fact that the glyphosate in the Purina Products

has the potential to cause liver disease and kidney damage, was a violation of the Missouri

Merchandising Practices Act, as further stated herein, and was a material omission.

       139.    The foregoing acts and practices of Defendant constituted unfair and unlawful

practices, and deceptive conduct, in violation of the Missouri Merchandising Practices Act.



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        140.    As a direct proximate result of the above-described practices, Plaintiffs and Class

Members suffered ascertainable loss of money due to the purchasing of the Purina Products.

        141.    Appropriate injunctive relief is necessary to prevent Purina’s MMPA violations

from continuing. If Purina’s violations of the MMPA are not stopped by such injunctive relief,

Plaintiffs and the members of the class will continue to suffer injury.

        142.    The conduct of Defendant was malicious, corrupt, and intentional and/or reckless

to a degree sufficient to support an award of punitive damages against Defendant.

        143.    WHEREFORE, Plaintiffs and the Class pray for the relief requested in the Prayer

for Relief set forth below in this Petition.

                                      PRAYER FOR RELIEF

        144.    WHEREFORE, Plaintiffs and each member of the proposed Class pray for a

judgment:

                (a) Certifying the Class as requested herein;

                (b) Entering an order appointing Orlowsky Law, LLC and Goffstein Law, LLC as

                    counsel for the Class;

                (c) Returning all purchase costs Plaintiffs and the Class paid for the Purina

                    Products;

                (d) Awarding declaratory and injunctive relief as permitted by law or equity

                    including a preliminary and permanent injunction enjoining Defendant from

                    continuing the unlawful practices as set forth herein;

                (e) Awarding punitive damages in an amount to be determined at trial;

                (f) Awarding pre-judgment interest;

                (g) Awarding post-judgment interest;

                (h) Awarding attorneys’ fees and costs;

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             (i) Providing such further relief as the Court may deem fair and reasonable.

                                       JURY DEMAND

      145.   Plaintiffs demand a trial by jury on all issues so triable.



Dated: March 2, 2020                                 Respectfully submitted,

                                                     Orlowsky Law, LLC


                                                     /s/ Daniel J. Orlowsky_____________
                                                     Daniel J. Orlowsky, #57387
                                                     7777 Bonhomme Ave., Suite 1910
                                                     St. Louis, Missouri 63105
                                                     Phone: (314) 725-5151
                                                     Fax: (314) 455-7357
                                                     dan@orlowskylaw.com

                                                     Attorney for Plaintiffs



                                                     Goffstein Law, LLC


                                                     /s/ Adam M. Goffstein
                                                     Adam M. Goffstein, #45611
                                                     7777 Bonhomme Ave., Suite 1910
                                                     St. Louis, Missouri 63105
                                                     Phone: (314) 725-5151
                                                     Fax: (314) 455-7278
                                                     adam@goffsteinlaw.com

                                                     Attorney for Plaintiffs




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                                                                                            2022-CC00473
In the
CIRCUIT COURT                                                                                  ┌                          ┐
                                                                                                    For File Stamp Only
City of St. Louis, Missouri
KELLEN JACQUIN, et al
__________________________________________
Plaintiff/Petitioner                                    _________________________
                                                        Date

vs.                                                     _________________________
                                                        Case number
NESTLE PURINA PETCARE COMPANY
__________________________________________
Defendant/Respondent                                    _________________________
                                                        Division
                                                                                               └                          ┘
                REQUEST FOR APPOINTMENT OF PROCESS SERVER
                   PLAINTIFFS
        Comes now _______________________________________________________, pursuant
                                                 Requesting Party
        to Local Rule 14, requests the appointment by the Circuit Clerk of
         John Frederick, Isaiah Thomas and Diana Capriglione
                                                        P.O. Box 270471, St. Louis,MO 63127 314-966-5585
        __________________________________________________________________________
        Name of Process Server                           Address                                         Telephone
        __________________________________________________________________________
        Name of Process Server                           Address                                         Telephone
        __________________________________________________________________________
        Name of Process Server                           Address                                         Telephone
        to serve the summons and petition in this cause on the below named parties.

        SERVE:                                                      SERVE:
        Nestle Purina PetCare Co., RA CT Corp System
        ____________________________________________                ___________________________________________
        Name                                                        Name
        120 S. Central Avenue
        ____________________________________________                ___________________________________________
        Address                                                     Address
        Clayton, MO 63105
        ____________________________________________                ___________________________________________
        City/State/Zip                                              City/State/Zip

        SERVE:                                                      SERVE:
        ____________________________________________                ___________________________________________
        Name                                                        Name
        ____________________________________________                ___________________________________________
        Address                                                     Address
        ____________________________________________                ___________________________________________
        City/State/Zip                                              City/State/Zip

        Appointed as requested:
        TOM KLOEPPINGER, Circuit Clerk                              /s/Daniel J. Orlowsky
                                                                    ________________________________________________
                                                                    Attorney/Plaintiff/Petitioner
                                                                    57387
                                                                    ________________________________________________
        By__________________________________________                Bar No.
           Deputy Clerk
                                                                    7777 Bonhomme Ave., #1910, Clayton, 63105
                                                                    ________________________________________________
                                                                    Address
        ________________________________________
                                                                    314-725-5151
                                                                    ________________________________________________
        Date                                                        Phone No.
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            IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                              Case Number: 2022-CC00473                               Special Process Server 1
REX M BURLISON                                                                                                              J. FREDERICK
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address               Special Process Server 2
KELLEN JACQUIN                                                  DANIEL JOHN ORLOWSKY                                         I. THOMAS
                                                                7777 BONHOMME AVE
                                                                SUITE 1910
                                                          vs.   ST. LOUIS, MO 63105                                     Special Process Server 3
Defendant/Respondent:                                           Court Address:
NESTLE PURINA PETCARE CO.                                       CIVIL COURTS BUILDING
Nature of Suit:                                                 10 N TUCKER BLVD
CC Other Tort                                                   SAINT LOUIS, MO 63101                                        (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: NESTLE PURINA PETCARE CO.
                            Alias:
 RA CT CORPORATION SYSTEM
 120 SOUTH CENTRAL AVENUE
 CLAYTON, MO 63105

      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                  March 3, 2020
                                     ________________________                      ______________________________________________________
                                             Date                                                        Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.


OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-1244             1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                  Electronically Filed - City of St. Louis - March 17, 2020 - 12:26 PM
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                   IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                STATE OF MISSOURI

KELLEN JACQUIN, KRISTEN SPARKS,                        )
and GREGORY WATERS, on behalf of                       )
themselves and all others similarly situated,          )
                                                       )
               Plaintiffs,                             )       Cause No. 2022-CC00473
                                                       )
vs.                                                    )       Division:
                                                       )
NESTLE PURINA PETCARE COMPANY,                         )
                                                       )
               Defendant.                              )


                             ENTRY OF APPEARANCE AS CO-COUNSEL

       COMES NOW Adam M. Goffstein of Goffstein Law, LLC and hereby enters his
appearance as co-counsel on behalf of Plaintiffs in the above-referenced matter.

                                                Respectfully submitted,

                                                GOFFSTEIN LAW, LLC


                                                /s/ Adam M. Goffstein
                                                Adam M. Goffstein, #45611
                                                7777 Bonhomme Ave., Suite 1910
                                                St. Louis, Missouri 63105
                                                Phone: (314) 725-5151
                                                Fax: (314) 455-7278
                                                adam@goffsteinlaw.com

                                                Attorney for Plaintiffs


                                 CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of March , 2020, a copy of the
foregoing was electronically filed with the Missouri Court’s e-filing system and electronically
served upon all attorneys of record.


                                                /s/Adam M. Goffstein
                                                                                            Electronically Filed - City of St. Louis - March 17, 2020 - 12:52 PM
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                   IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                STATE OF MISSOURI

KELLEN JACQUIN, KRISTEN SPARKS,                        )
and GREGORY WATERS, on behalf of                       )
themselves and all others similarly situated,          )
                                                       )
               Plaintiffs,                             )       Cause No. 2022-CC00473
                                                       )
vs.                                                    )       Division:
                                                       )
NESTLE PURINA PETCARE COMPANY,                         )
                                                       )
               Defendant.                              )


                 MEMORANDUM TO CLERK REGARDING RETURN OF SERVICE

       COME NOW Plaintiffs, by and through counsel, and file their Return of Service upon
Defendant, Nestle Purina Petcare Company.
       Costs to be taxed against Defendants. (See attached).

                                                Respectfully submitted,

                                                ORLOWSKY LAW, LLC


                                                /s/Daniel J. Orlowsky
                                                Daniel J. Orlowsky, #57387
                                                7777 Bonhomme Ave., Suite 1910
                                                St. Louis, Missouri 63105
                                                Phone: (314) 725-5151
                                                Fax: (314) 455-7357
                                                adam@goffsteinlaw.com

                                                Attorney for Plaintiffs
                                                                                                  Electronically Filed - City of St. Louis - March 17, 2020 - 12:52 PM
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                                             GOFFSTEIN LAW, LLC


                                             /s/ Adam M. Goffstein
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                                             St. Louis, Missouri 63105
                                             Phone: (314) 725-5151
                                             Fax: (314) 455-7278
                                             adam@goffsteinlaw.com

                                             Attorney for Plaintiffs


                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 17th day of March , 2020, a copy of the
foregoing was electronically filed with the Missouri Court’s e-filing system and electronically
served upon all attorneys of record.


                                             /s/Daniel J. Orlowsky




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